IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

DOCKET NO. 3:11CR373-FDW-DSC

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )                      ORDER
                                             )
KAMAL ZAKI QAZAH (3)                         )


       THIS MATTER is before the Court on the government’s motion for leave permitting the

City of Columbia, South Carolina to proceed with a proposed inspection of real property located

at 1716 Budon Ct. in Columbia and with demolition of the improvements on the property if

warranted by building code violations, notwithstanding the First Protective Order filed herein on

November 29, 2011 (Doc. No. 16).

       The Court finds that the reasons for entry of the First Protective Order are not implicated

by the proposed inspection and demolition of this property, if warranted under local law.

       IT IS THEREFORE ORDERED that the parties and the City may proceed with the

proposed inspection and demolition, under such terms and conditions as may be provided by and

under state law, notwithstanding the First Protective Order.

                                                 Signed: October 26, 2012




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